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 8                                   UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        No. 2:11-cr-449-KJM
12                      Plaintiff,
13          v.                                        ORDER
14   BRIAN JUSTIN PICKARD, et al.,
15                      Defendants.
16

17                  On November 7, 2014, the parties submitted lists of exhibits they seek to have

18   admitted into evidence following evidentiary hearing, with their respective objections to certain

19   exhibits. (ECF No. 358.) Any exhibits not objected to are hereby ADMITTED. Having

20   carefully considered the objections and responses thereto, the court rules on the objections as

21   shown below:

22          I.      United States’ Exhibits

23                     No.        Description                       Ruling
                       3a Substance Abuse                  Overruled. ADMITTED.
24
                           Treatment Admissions
25                         Chart.
                       7   NEJM – Big Marijuana –          Overruled. ADMITTED.
26                         Lesson from Big Tobacco.        See Federal Rule of
                                                           Evidence (FRE) 807.
27

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                                                      1
         Case 2:11-cr-00449-KJM Document 362 Filed 11/18/14 Page 2 of 10


 1                         9      JAMA Article – Problems               Overruled. ADMITTED.
                                  with the Medicalization of            See FRE 807.
 2                                Marijuana, May 20, 2014.
 3
                           112 NEJM Article – Closing                   Sustained.
 4                             the Books on Laetrile,
                               1/28/1982.
 5

 6
                           204 Vaidya, et al., Effects of               Overruled. ADMITTED.
 7                             Chronic Marijuana Use on
                               Brain Activity During
 8                             Monetary Decision-
 9                             Making,
                               Neuropsychopharmacology
10                             (2012).
                           315 Radhakrishnan, et al.,                   Sustained as to the
11                             Cannabis and                             portions of the book that
                               Cannabinoids and the                     refer to synthetic cannabis,
12                                                                      including “K2” and
                               Association with                         “Spice.” Otherwise
13                             Psychosis, 2012.                         overruled. ADMITTED
                                                                        IN PART.
14

15            II.      Defense Exhibits
16
                          No.        Description                                 Ruling
17                        E   Mixed Signals Hearing                     Sustained. ‡1
                              Tapes
18
                                  E(1): March 4, 2014
19                                E(2): June 20, 2014
20
                          F       Denney Binder containing              Overruled. All studies,
21                                selected studies on the               including abstracts of the
                                  medical efficacy of                   studies, ADMITTED as
22
                                  cannabis (one volume, tabs            providing bases for Dr.
23                                1-46).                                Denney’s opinion. See
                                                                        FRE 703. If the
24                                                                      Government believes an
                                                                        abstract misstates the
25                                                                      substance of a study, it
                                                                        may then seek to offer the
26

27   1
       This is one of several exhibits or series of exhibits identified by defendant but not provided to the court. If the court
     did not receive an exhibit or series of exhibits the exhibit or series descriptor is marked with “‡”. The court cannot
28   resolve objections to exhibits it does not have on the merits and so sustains these objections.
                                                                 2
         Case 2:11-cr-00449-KJM Document 362 Filed 11/18/14 Page 3 of 10


 1                                                                      full study. See United
                                                                        States v. Collicott, 92 F.3d
 2                                                                      973, 983 (9th Cir. 1996).
 3                          G      Defense Madras Binder                Overruled. All studies,
 4                                 containing selected studies          including any abstracts of
                                   relied upon by Dr. Madras            the studies, ADMITTED
 5                                 in support of her opinion            as providing bases for Dr.
                                   (two volumes, tabs 1-199).           Madras’s opinion (see
 6                                                                      Madras Decl., ECF No.
                                                                        324 at 5). See FRE 703.
 7                                                                      If a party believes any
 8                                                                      abstract misstates the
                                                                        substance of a study it
 9                                                                      may then seek to offer the
                                                                        full study. Collicott, 92
10                                                                      F.3d at 983.
11
                                                 ARMENTANO BINDER‡
12
                            2      Grant. (2012) Medical                Sustained.2
13                                 Marijuana: Clearing Away
                                   the Smoke.
14

15

16                          12     Chagas. (2014) Effects of     Sustained.
                                   cannabidiol in the treatment
17                                 of patients with Parkinson’s
                                   disease: An exploratory
18
                                   double-blind trial. (Abstract
19                                 only.)
                            18     Lotan. (2014) Cannabis        Sustained.
20                                 (Medical Marijuana)
                                   Treatment for Motor and
21                                 Non-Motor Symptoms of
22                                 Parkinson Disease: An
                                   Open-Label Observational
23                                 Study. (Abstract.)
                            22     Hazekamp. (2013) The          Sustained.
24                                 medicinal use of cannabis
                                   and cannabinoids- an
25                                 international cross-sectional
26                                 survey on administration
                                   forms. (Abstract only.)
27

28   2
         Although the court does not have a copy of Exhibit 2, it appears to be the same as Denney Ex. 9 at 24.
                                                                 3
     Case 2:11-cr-00449-KJM Document 362 Filed 11/18/14 Page 4 of 10


 1               23   Scavone. (2013) Impact of     Sustained.
                      cannabis use during
 2                    stabilization on methadone
 3                    maintenance treatment.
                      (Abstract only.)
 4
                 48   DSM 5. Selections from     Sustained.
 5                    Chapter on Substance
                      Abuse: Caffeine Use
 6
                      Disorder (305.90+),
 7                    Cannabis Use Disorder (p.
                      509).
 8               56   Nguyen. (2014) Effect of   Sustained.
                      Marijuana Use on
 9                    Outcomes in Traumatic
                      Brain Injury. (Abstract.)
10
                 68   Kelly. (2000) Cigarette    Sustained.
11                    smoking and schizophrenia.

12

13
                 69   Frisher. (2009) Assessing     Sustained.
14                    the impact of cannabis use
                      on trends in diagnosed
15                    schizophrenia in the United
                      Kingdom from 1996 to
16                    2005.
17               70   Science Daily Report. (June   Sustained.
                      24, 2014) Schizophrenia
18                    and cannabis use may share
                      common genes.
19               73   Science Daily. (July 29,      Sustained.
                      2014) Drinking sugar-
20
                      sweetened beverages during
21                    adolescence impairs
                      memory, animal study
22                    suggests.
                 78   NIDA Printout. (Revised,      Sustained.
23                    2014) Marijuana Research
24                    at NIDA: What kinds of
                      marijuana research does
25                    NIDA fund?
                 80   Anderson. (October 1,         Sustained.
26                    2014) Medical Marijuana
                      Laws and Teen Marijuana
27                    Use.
28                                                  continued. . . .
                                             4
     Case 2:11-cr-00449-KJM Document 362 Filed 11/18/14 Page 5 of 10


 1               86     Geppert. (2014) Legal and     Sustained.
                        Clinical Evolution of
 2                      Veterans Health
 3                      Administration Policy on
                        Medical Marijuana.
 4               87     Shiraishi. (2014)             Sustained.
                        Relationship between
 5                      Violent Behavior and
                        Repeated Weight-Loss
 6
                        Dieting among Female
 7                      Adolescents in Japan.

 8
                      EXHIBITS IN SUPPORT OF MOTION TO DISMISS
 9

10               J      The Department of Justice     Overruled. ADMITTED.
                        Memorandum, issued on
11                      August 29, 2013, and
                        entitled “Guidance
12                      Regarding Marijuana
                        Enforcement.”
13
                 K      The Department of Justice     Overruled. ADMITTED.
14                      Memorandum, issued on
                        February 14, 2014, entitled
15                      “Guidance Regarding
                        Marijuana-Related
16                      Financial Crimes.”
17               L      The U.S. Department of the    Overruled. ADMITTED.
                        Treasury Memorandum,
18                      dated February 14, 2014,
                        entitled “BSA Expectations
19                      Regarding Marijuana-
                        Related Business.”
20               M      Excerpt: H.R. 4660,           Sustained.
21                      Commerce, Justice,
                        Science, and Related
22                      Agencies Appropriations
                        Act, 2015, passed on May
23                      30, 2014.
                 N      H.R. 525, Industrial Hemp     Sustained.
24
                        Farming Act of 2013.
25               O      Amendment 1086 to             Sustained.
                        H.R.5016, Financial
26
                        Services and General
27                      Government
                        Appropriations Act, 2015.
28
                                               5
     Case 2:11-cr-00449-KJM Document 362 Filed 11/18/14 Page 6 of 10


 1               P    Letter from Dr. Roger O.      Overruled. ADMITTED.
                      Egeberg, Assistant
 2                    Secretary for Health and
 3                    Scientific Affairs,
                      Department of Health,
 4                    Education, and Welfare, to
                      Hon. Harley O. Staggers,
 5                    Chairman, House Comm.
                      on Interstate and Foreign
 6
                      Commerce.
 7               Q    Excerpt: Report of the        Overruled. ADMITTED.
                      National Commission on
 8                    Marihuana and Drug
                      Abuse: Marijuana, a Signal
 9                    of Misunderstanding, “A
                      Final Comment.”
10
                 R    Excerpt: Report of the        Overruled. ADMITTED.
11                    National Commission on
                      Marihuana and Drug
12                    Abuse: Marijuana, a Signal
                      of Misunderstanding,
13                    “Social Impact of
14                    Marijuana: Addiction
                      Potential.”
15               S    The New Yorker                Sustained.
                      Magazine, “Going the
16                    Distance,” Interview with
                      Barack Obama. Jan. 27,
17                    2014.
18               T    Perez, Eric, M.D.             Overruled. ADMITTED.
                      “Acetaminophen
19                    Overdose.” National
                      Institute of Health Report.
20                    Nov. 16, 2013.
                 U    Cable News Network,           Sustained.
21
                      “New Tylenol Cap Will
22                    Have Warning Label.”
                      Aug. 30, 2013.
23               V    FDA website printout:         Overruled. ADMITTED.
                      “FDA Warns of Rare
24                    Acetaminophen Risk.” Last
25                    updated on Nov. 10, 2013.
                 W    DEA Drug and Chemical         Overruled. ADMITTED.
26                    Evaluation Sheet:
                      Dextramorphen.
27                                                  continued. . . .
28
                                             6
         Case 2:11-cr-00449-KJM Document 362 Filed 11/18/14 Page 7 of 10


 1                          X        Cable News Network,                  Sustained.
                                     “Marijuana Stops Child’s
 2                                   Severe Seizures.” Aug. 7,
 3                                   2013.
                            Y        Salt Lake City Tribune,              Sustained.
 4                                   “Families Migrating to
                                     Colorado for a Medical
 5                                   Marijuana Miracle.” Nov.
                                     11, 2013.
 6
                            Z        Email from Lisa Kubaska,             Overruled. ADMITTED.
 7                                   entitled” “FW: CBD legal             See FRE 801(d)(2).
                                     status - CDER Response -
 8                                   7/29/2013” July 29, 2013.
                            AA       United States v. Randall,            Sustained.3
 9                                   104 Wash. D.L.Rep. 2249
10                                   (D.C. Sup. Ct. 1976).

11                          CC       Elders, Joycelyn. “Myths             Sustained.
                                     About Medical
12                                   Marijuana.”
                            DD       PEW Research Center poll,            Sustained.
13
                                     “Americans Skeptical of
14                                   Value of Enforcing
                                     Marijuana Laws.” Aug. 13,
15                                   2013.
                            EE       Gallup Poll, “For the First          Sustained.
16                                   Time, Americans Favor
                                     Legalizing Marijuana.”
17
                                     Oct. 22, 2013.
18                          FF       Transcript of Testimony              Sustained.
                                     before Senate Judiciary
19                                   Committee, September 10,
                                     2013, “Conflicts Between
20                                   State and Federal
21                                   Marijuana Laws.”
                            GG       Transcript of AUSA Walsh             Sustained.‡
22                                   and Deputy DEA
                                     Administrator Harrigan
23                                   before Congressional
                                     Committee on Oversight
24                                   and Government Reform,
25                                   March 4, 2014.

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28   3
         This ruling does not prevent a party from citing to this case in briefing or argument.
                                                                   7
     Case 2:11-cr-00449-KJM Document 362 Filed 11/18/14 Page 8 of 10


 1               HH   Cable News Network.           Sustained.
                      Gupta, Sanjay, M.D.
 2                    “Weed: Dr. Sanjay Gupta
 3                    Reports.” Aug. 11, 2013.

 4                               DR. CARTER STUDIES‡
 5               LL Carter, Flanagan,               Sustained.
                    Earleywine, Abrams,
 6
                    Aggarwal, and Grinspoon
 7                  (2011) Cannabis in
                    Palliative Medicine:
 8                  Improving Care and
                    Reducing Opioid-Related
 9                  Morbidity. American
                    Journal Hospice and
10
                    Palliative Medicine.
11               MM Aggarwal, Carter,               Sustained.
                    ZumBrunnen, Morril,
12                  Sullivan, Mayer (2013)
                    From 32 Ounces to Zer: A
13                  Medical Geographic Study
                    Dispensing a Cultivated
14
                    Batch of “Plum” Cannabis
15                  Flowers to Medical
                    Marijuana Patients in
16                  Washington State. Journal
                    of Psychoactive Drugs.
17

18               NN   Amtmann, Wedt, Johnson,       Sustained.
                      Jensen, and Carter (2004)
19                    Survey of cannabis use in
                      patients with amyotrophic
20                    lateral sclerosis. American
                      Journal of Hospice and
21                    Palliative Medicine.
22               OO   Aggarwal, Tocha, Carter       Sustained.
                      (2007) Dosing Medical
23                    Marijuana: Rational
                      Guidelines on Trial in
24                    Washington. Medscape.
25
                                                    continued. . . .
26

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                                              8
         Case 2:11-cr-00449-KJM Document 362 Filed 11/18/14 Page 9 of 10


 1                         PP      Aggarwal, Carter, Sullivan,       Sustained.
                                   ZumBrunnen, Morill, and
 2                                 Mayer (2009) Medicinal
 3                                 use of cannabis in the
                                   United States: Historical
 4                                 perspectives, current
                                   trends, and future
 5                                 directions. Journal of
                                   Opioid Management.
 6
                           QQ      Aggarwal, Carter, Sullivan,       Sustained.
 7                                 ZumBrunnen, Morill, and
                                   Mayer (2009)
 8                                 Characteristics of patients
                                   with chronic pain accessing
 9                                 treatment with medical
                                   cannabis in Washington
10
                                   State. Journal of Opioid
11                                 Management.
                           RR      Carter, Weydt, Hyashna-           Sustained.
12                                 Tocha, and Abrams (2004)
                                   Medical Cannabis:
13                                 Rational guidelines for
14                                 dosing. IDrugs: the
                                   investigational drugs
15                                 journal.
                           SS      Carter, Abood, Aggarwal,          Overruled. ADMITTED
16                                 and Weiss (2010) Cannabis         as providing basis for Dr.
                                   and Amyotrophic lateral           Carter’s opinion.4
17                                 Sclerosis Hypothetical and
18                                 Practical Applications, and
                                   a Call for Clinical Trials.
19                                 American Journal of
                                   Hospice and Palliative
20                                 Medicine.
                           TT      Aggarwal, and Carter              Overruled. ADMITTED
21
                                   (2014) (article)                  as providing basis for Dr.
22                                 Point/Counterpoint:               Carter’s opinion.5
                                   Medical Marijuana for
23                                 Failed Back Surgical
                                   Syndrome: A Viable
24                                 Option for Pain Control or
                                   an Uncontrolled Narcotic,
25
                                   American Academy of
26                                 Physical Medicine and
                                   Rehabilitation.
27
     4
         This exhibit is the same as Government’s Exhibit 309.
28   5
         This exhibit is the same as Government’s Exhibit 306.
                                                                 9
     Case 2:11-cr-00449-KJM Document 362 Filed 11/18/14 Page 10 of 10


 1                UU    Carter and Rosen (2001)     Sustained.
                        marijuana in the
 2                      management of
 3                      amyotrophic lateral
                        sclerosis, American Journal
 4                      of Hospice and Palliative
                        Care.
 5                VV    Carter and Weydt (2002)     Sustained.
                        Cannabis: old medicine
 6
                        with new promise for
 7                      neurological disorders.
                        Current Opinion in
 8                      Investigational New Drugs.
 9                      *Abstract Only.
10               IT IS SO ORDERED.
11   DATED: November 18, 2014.
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                                           UNITED STATES DISTRICT JUDGE
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